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The Honorable Craig T. Goldblatt
United States Bankruptcy Court
for the District of Delaware
824 N. Market Street
3rd Floor, Courtroom 7
Wilmington, DE 19801                                                        February 28, 2024



Re: Team Systems International, LLC - Ch. 11 No. 22-10066-CTG; Adv. No. 23-50004-CTG
    Reply to Creditors’ Objection to Pro Hac Vice Admission of Randy Michael Mott, Esq.


Dear Judge Goldblatt:

       I am filing this reply pro se to the objection by the judgment creditors to my admission
pro hoc vice. [D.I. 444, Adv. D.I. 165] The discussion of my family relationship to the TSI
members and the fact that I have multiple residences does not warrant a reply or any
consideration by the Court.

        As to the bar complaint I filed, as a member of the District of Columbia Bar, I have rules
to follow, including a duty to report misrepresented or fraudulent evidence presented by an
attorney. See DC Bar Rule 3.3(d). While the Delaware Bar complaint is confidential, I will stand
by my statement and evidence submitted to the Delaware Bar. See Delaware Bar Rule 3.3(a)(3).
        I have been litigating cases for many years in multiple jurisdictions pro hac vice in over
15 federal courts and several state courts, including being lead counsel in the five-week trial in
the W.D. of Michigan that led to the United States v. Best Foods 524 U.S. 51 (1998) decision. My
CV is attached. For ten years, I was chairman of the bi-annual Practicing Law Institute Hazardous
Waste Litigation conferences. I have also appeared before the United States Supreme Court, the
Civil Board of Contract Appeals and in multiple administrative adjudications. My current rating
with Martin-Hubbel (2024) is the highest available. I have never filed a bar grievance against any
other attorney.




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        On the forthcoming objection by the judgment creditors to the Defendants’ Motion to
Vacate the Preliminary Injunction order under Rule 60(b)(3), I will also stand on what was
submitted and would like the opportunity to orally argue the motion personally in this Court.
Whatever allegations the judgment creditors will make will be properly addressed in our reply
and in the oral argument.
         Whenever I am permitted to appear, I will be happy to answer any inquiries by the Court.


Sincerely,




Randy M. Mott, Esq.




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